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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 YOON DOELGER, and
 PETER DOELGER,

                                     Plaintiffs,         No. 1:21-cv-11042-AK

                      vs.

 JPMORGAN CHASE BANK, N.A., and
 CHICKASAW CAPITAL MANAGEMENT,
 LLC,

                                   Defendants.


    JPMORGAN CHASE BANK, N.A.’S MOTION TO ENJOIN PLAINTIFFS FROM
          PURSUING THEIR DUPLICATIVE FINRA ARBITRATION
       Defendant JPMorgan Chase Bank, N.A. (“JPMC”) respectfully moves to enjoin Plaintiffs

Yoon Doelger and Peter Doelger (“Plaintiffs”) from pursuing their duplicative FINRA arbitration

(FINRA Case. No. 23-02750, the “Arbitration”) as contradictory to the JPMC’s choice of forum

clauses, these proceedings, and this Court’s jurisdiction and rulings. As grounds for this motion

(the “Motion”), JPMC relies upon and incorporates by reference: (a) the arguments contained in

the supporting Memorandum; and (b) the declaration of Tracy O. Appleton and the exhibits

thereto.

       In conjunction with this Motion, JPMC is filing herewith:

               1. JPMC’s Memorandum of Law in Support of its Motion to Enjoin Plaintiffs
                  From Pursuing Their Duplicative FINRA Arbitration; and

               2. Declaration of Tracy O. Appleton and associated exhibits.

       WHEREFORE, JPMC respectfully requests that the Court enter an injunction precluding

Plaintiffs from pursuing their duplicative FINRA arbitration.



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Dated: February 28, 2024

                                           Respectfully submitted,


                                           ________________________________
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                                CERTIFICATE OF SERVICE

       I, Tracy O. Appleton, hereby certify that this document filed through the CM/ECF system

was served electronically to the registered participants as identified on the Notice of Electronic

Filing on February 28, 2024, and that paper copies will be sent to those indicated as non-registered

participants on February 28, 2024.

                                                     /s/ Tracy O. Appleton
                                                     Tracy O. Appleton




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